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 9                           UNITED STATES DISTRICT COURT
10                               DISTRICT OF ARIZONA

11    Victor Parsons, et al., on behalf of themselves    NO. 2:12-cv-00601-ROS
      and all others similarly situated; and Arizona
12    Center for Disability Law,

13                                         Plaintiffs,   SUPPLEMENTAL DECL. OF
                    v.                                   DAVID SHINN
14
      David Shinn, Director, Arizona Department
15    of Corrections; and Richard Pratt, Interim
      Division Director, Division of Health
16    Services, Arizona Department of Corrections,
      in their official capacities,
17
                                         Defendants.
18
            I, David Shinn, make the following Supplemental Declaration:
19
            1.     I am the Director of the Arizona Department of Corrections, Rehabilitation
20
     and Reentry (“ADCRR”) and have served as Director since October 21, 2019.
21
           2.      On July 10, 2020, I executed a Declaration in support of Defendants’
22
     Response to the January 31, 2020 Order to Show Cause. (Doc. 3649-1). I affirm the avowals
23
     in that Declaration and incorporate them here.
24
           3.      As Director of ADCRR, I am committed to partnering with Centurion of
25
     Arizona (“Centurion”) to lead this agency to full compliance with the Stipulation Health
26
     Care Performance Measures (“HCPMs”) and overall Stipulation compliance.
27
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 1          4.     To that end, I have explored and analyzed the important interplay between
 2   prison security operations and the provision of inmate healthcare to identify challenges that
 3   may require redirection, improvement, or change in order to achieve both ADCRR and
 4   Centurion’s common goal of providing quality and Stipulation-compliant healthcare to the
 5   inmate population while also maintaining the safety and security of the public, the inmate
 6   population, and staff.
 7          5.     I am familiar with the relevant orders in this proceeding, including the Court’s
 8   June 22, 2018 Order and Judgment of Civil Contempt, the January 31, 2020 Order to Show
 9   Cause, the February 24, 2021 Order, and the Order dated March 4, 2021.
10          6.     Under my leadership, ADCRR continues to take all reasonable steps to
11   comply with the Court’s OSC Orders and to achieve Stipulation compliance in order to
12   terminate Court oversight of this matter.
13          7.     ADCRR’s ongoing steps to achieve Stipulation compliance that have been
14   implemented since those that were reported in my July 2020 Declaration (Doc. 3649-1) are
15   outlined herein and are also included in simultaneously submitted declarations from L.
16   Gann, ADCRR’s Assistant Director of Medical Services Contract Monitoring Bureau
17   (MSCMB), as well as declarations submitted by Centurion leadership.
18          8.     As a reference point regarding the provision of medical care to ADCRR
19   inmates assigned to ten ADCRR-operated prison complexes across the state, as of March
20   23, 2021, the total inmate population at issue was 29,798. As of March 23rd, ADCRR
21   incarcerated 6,925 inmates in prison facilities operated by private correctional service
22   provider partners under contract with ADCRR.
23                 Stipulation Compliance for March 2020 to December 2020
24          9.     Excluding the Maximum Custody and “N/A” Measures, the MSCMB audited
25   732 Health Care Performance Measures in March 2020; 731 in April 2020; 740 in May
26   2020; 727 in June 2020; 724 in July 2020; 723 in August 2020; 739 in September 2020;
27   737 in October 2020; 736 in November 2020; and, 736 in December 2020.
28

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 1         10.    If the Maximum Custody and N/A measures are excluded from both the
 2   numerator and denominator in the overall compliance formula, number of applicable
 3   measures monitored, the average score of all monitored measures and the adjusted final
 4   compliance rates for those months are:1
 5                                Applicable                        Adjusted Final
                                                     Average
 6               Month             Measures                           Compliance
                                                   Measure Score
 7                                Monitored                               Rate
 8          March 2020                732              96%              96.17%
 9          April 2020                731              96%              94.94%
10          May 2020                  740              94%              89.73%
11          June 2020                 727              93%              89.82%
12          July 2020                 724              93%              89.09%
13          August 2020               732              94%              89.75%
14          September 2020            739              93%              89.72%
15          October 2020              737              95%              92.54%
16          November 2020             736              95%              92.26%
17          December 2020             736              94%              88.59%
18
19   ///
20   ///
21
22
     1
      When ADCRR reports the “overall” or “systemwide” compliance rate, it is reporting that
     percentage based upon a specific formula, which is:
23
            # activated measures - # noncompliant activated measures
24          ----------------------------------------------------------  x 100
25                           # activated measures
     The “activated measures” include the Maximum Custody Outcome Measures, the “N/A”
26   Measures, and Measures that have been terminated or retired by the Court (except PM 54,
     effective March 2020). Additional rates can be calculated from the underlying data
27
     contained in the CGAR reports.
28

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 1          11.    If terminated Health Care Performance Measures are removed from the
 2   equation, there is no substantial difference in the compliance scores, although the scores are
 3   slightly lower. The monthly number of applicable measures monitored, average score of
 4   all monitored measures, and final adjusted compliance rates for non-terminated Health Care
 5   Performance Measures are:
 6
 7                                  Applicable                           Adjusted Final
                                                          Average
 8                Month              Measures                              Compliance
                                                       Measure Score
 9                                  Monitored                                  Rate
10          March 2020                  550                 95%               95.27%
11          April 2020                  559                 96%               95.35%
12          May 2020                    557                 94%               89.05%
13          June 2020                   544                 93%               91.18%
14          July 2020                   541                 93%               88.91%
15          August 2020                 548                 94%               89.23%
16          September 2020              550                 93%               89.09%
17          October 2020                540                 94%               91.85%
18          November 2020               432                 94%               90.28%
19          December 2020               433                 93%               84.99%
20
21          12.    The reason for the difference is because the MCSMB still held the contractor
22   accountable for failing to meet the 85% compliance threshold even for those Health Care
23   Performance Measures that had been terminated by the Court.
24          13.    Of the total measures subject to the Order to Show Cause, the monthly number
25   of applicable OSC measures monitored (non-terminated OSC measures minus non-
26   terminated OSC measures that were not applicable that particular month (“N/A”)), the
27
28

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 1   average score of all non-terminated applicable OSC monitored measures, and the resulting
 2   compliance rates for non-terminated OSC measures:
 3
 4                              Applicable        Number of          Average            OSC
 5            Month              Measures       Noncompliant         Measure        Compliance
 6                              Monitored               PMs           Score             Rate
 7      March 2020                  123                 14             92%            88.62%
 8      April 2020                  119                  7             95%            94.12%
 9      May 2020                    120                 20             92%            83.33%
10      June 2020                   119                 15             92%            87.39%
11      July 2020                   120                 23             89%            80.83%
12      August 2020                 120                 19             91%            84.17%
13      September 2020              120                 25             91%            79.17%
14      October 2020                119                 15             92%            87.39%
15      November 2020               117                 14             93%            88.03%
16      December 2020               117                 26             91%            77.78%
17
18          14.     The details of these calculations are more fully set forth in the simultaneously
19   submitted Declaration of L. Gann.
20
21                         Contract Sanctions Imposed Upon Centurion
22          15.     ADCRR’s contract with Centurion, which commenced in July 2019, provides
23   a graduated scale for contract sanctions/offsets resulting from both non-compliance HCPMs
24   as well as staffing deficiencies to promote compliance with both the contract and the
25   Stipulation.
26          16.     The three-tier system of contract sanctions are designed to promote
27   compliance with the contract, as well as with the Stipulation. Failure to meet the current
28

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 1   monthly 85% compliance threshold at any complex during any audited month results in a
 2   fixed-rate performance offset of $500.00 per measure, per month, per facility.
 3            17.   A second-tier of graduated-scale performance sanctions applies only to
 4   HCPMs where noncompliance at a particular complex or month will result in the extension
 5   of the twenty-four-month rolling compliance period governed by the Stipulation.
 6            18.   The third-tier of sanctions provides for staffing offsets/paybacks for hours of
 7   service if the actual number of hours worked by Centurion personnel falls below the level
 8   of hours to be worked by a full-time equivalent (“FTE”) employee identified in the staffing
 9   matrix at the regional office or at a facility. Where positions are under-filled in a particular
10   month, Centurion is subject to an offset based upon the average hourly rate for that provision
11   for each hour that was uncovered. To avoid these offsets, Centurion may use more qualified
12   staff to cover the hours (for example an RN may be used to complete the work of an LPN,
13   or a physician may work to cover the hours for a mid-level provider listed in the staffing
14   plan).
15            19.   The third-tier staffing sanction offset is designed to eliminate any financial
16   incentive if the contractor decides that it may be economically advantageous to leave a
17   position on the staffing plan unfilled, even where there is a sanction for noncompliance. If
18   a position on the staffing plan is not actually worked in the month, the amount of the
19   payment due to the contractor is offset by the wage or salary due to that particular position
20   for each vacancy.
21            20.   ADCRR has invoked contract sanctions/offsets and for the first 18 months of
22   contract performance (July 2019 through December 2020) in the amount of $12,277,066.91
23   as against Centurion to encourage and gain Stipulation compliance.
24             ADCRR Leadership Engagement Regarding Stipulation Compliance
25            21.   Following the Court’s January 2020 OSC Order, ADCRR and Centurion
26   leadership increased the existing bi-weekly meetings to weekly meetings to track and
27   discuss HCPM compliance, and to collaboratively address efforts to achieve complete
28   Stipulation compliance and address non-performing HCPMs.

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 1          22.    Likewise, ADCRR complex-level security operations and medical leadership
 2   continue to meet daily to discuss HCPM compliance, identify and resolve issues that
 3   compromise compliance, collaborate to achieve complete Stipulation compliance, and
 4   advise on the medical and mental health status of inmates who may require additional
 5   security supervision.
 6          23.    Deputy Director J. Profiri continues to meet with Assistant Director L. Gann
 7   at least once a week to discuss MSCMB’s oversight of Centurion’s performance and
 8   compliance with the contract, Stipulation, and on-going response to COVID-19.
 9          24.    Additionally, Deputy Director Profiri engages in weekly meetings with the
10   MSCMB and Centurion wherein relevant action items are discussed to include updates on
11   HCPMs that have not reached compliance, the provision of medical, dental and mental
12   health care and obstacles related to the same, status of pharmacy operations, and Centurion
13   staffing. Escalation processes are employed that can result in ADCRR’s contracting and
14   procurement officers engaging with Centurion on contract performance issues that coincide
15   with Stipulation and HCPM compliance.
16          25.    Deputy Director Profiri furthermore participates with ADCRR legal counsel
17   and Centurion leadership to proactively address contract and Stipulation performance issues
18   where performance does not meet Stipulation compliance requirements.
19          26.    I am apprised of Deputy Director Profiri’s engagement with the MSCMB and
20   Centurion on a regular basis.
21          27.    The appointment of Assistant Director Gann, working in daily collaboration
22   with Deputy Director Profiri, has precipitated a culture shift not only within the MSCMB,
23   but in the relationship between ADCRR and Centurion.
24          28.    Assistant Director Gann serves as the voice of ADCRR as to the delivery of
25   inmate healthcare services. If an issue needs to be escalated, first Deputy Director Profiri,
26   and then I become involved to reach resolution. This structure provides a much more agile
27   and efficient method by which ADCRR’s concerns can be made known to Centurion and
28   resolved.

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 1          29.    Assistant Director Gann oversees the MSCMB and per my direction,
 2   Assistant Director Gann is also responsible for ensuring that Centurion provides ADCRR’s
 3   inmate population with a quality system of healthcare.
 4          30.    While the MSCMB has a reactive role in imposing sanctions to enforce
 5   compliance with the term of the contract, it also has a significant role in proactively
 6   assessing and evaluating compliance issues in real-time to reduce the risk of prospective
 7   noncompliance, which can negatively impact patient care.
 8          31.    Under Assistant Director Gann’s leadership, he has restructured the MSCMB
 9   to employ a more efficient and cohesive team of experts that not only monitors Centurion’s
10   compliance with Performance Measures but also proactively identifies compliance barriers,
11   breaks them down, provides corrective action plans for the same, and assesses compliance
12   under the corrective action plans.
13          32.    Achievements of the MSCMB under Assistant Director Gann’s leadership
14   include the following measures taken to increase HCPM compliance:
15
16          •      Relocation and reassignment of ten medical liaisons to MSCMB’s Central
            Office to increase effectiveness of the medical liaisons, with responsibilities to
17          include touring of all ten ADCRR-operated prison complexes to audit operational
            and medication administrative processes, providing corrective action plans with re-
18          audits to determine areas of noncompliance or barriers to care that still exist, and
19          completing patient chart reviews for specified HCPMs to advocate for positive
            patient outcomes. The medical liaison team’s mission is proactive troubleshooting,
20          and they work to identify and cure Stipulation deficiencies in advance. The liaison
            team is not made up of monitors but coordinates with the MSCMB monitors to
21
            identify and address Stipulation and HCPM compliance issues. The medical liaison
22          team is made up of clinicians, staffing specialists, and inventory specialists – all
            working together in conjunction with the monitors, facility operations leadership,
23          and MSCMB leadership to improve the quality of care provided to the inmate
24          population and to achieve Stipulation compliance.

25          •     Creation and implementation of two Operational Team Leader (Program
26          Evaluation Administrators) positions to lead the medical liaison teams, who in turn
            coordinate implementation of action plans to address barriers to access to healthcare
27          and Stipulation compliance and provide uniform communications between the
            MSCMB and Centurion staff in the field.
28

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 1
 2         •       Creation and implementation of training provided to MSCMB and Centurion
           staff on the following training modules, to be completed both during onboarding for
 3         new hires and annually for existing staff: Basic Orientation Training (to include
           targeted training regarding Parsons v. Shinn Stipulation requirements, Centurion
 4         contractual obligations, HCPMs, Stipulation monitoring guidelines); Arizona
 5         Management System; Problem Solving; Corrective Action Plan; Identifying Waste
           in a Process; Problem Solving for Leaders; Medication Audit Training; eOMIS; and
 6         COVID-19 Vaccinations and Testing.
 7
           •       Implementation of quarterly strategic planning meetings to target specific
 8         goals utilizing statistical data and resource allocation studies to address and improve
           HCPM compliance. ADCRR’s Office of Continuous Improvement (“OCI”), which
 9
           is made up in part of seasoned ADCRR security/operations professionals, contribute
10         to the quarterly strategic planning sessions by (1) studying and providing both
           statistical data to the MSCMB in order to better analyze trends and operational
11         challenges that may impede Stipulation compliance for specified HCPMs; and (2)
12         providing recommendations to improve/eliminate barriers to the provision of quality
           healthcare and Stipulation compliance by focusing on reduction of operational and
13         security barriers and challenges. Currently, OCI is generally studying Centurion
           staffing levels/trends/contract compliance and Stipulation compliance rates to
14         address increased compliance. OCI is also currently working on targeted
15         data/operational studies to: (1) reduce single inmate medical transports to increase
           completion of timely outside specialist appointments; and (2) address increased
16         compliance for HCPMs 11, 44, 50, and 51 (as related to timely provision of newly
17         prescribed medications to inmates; timely review and action upon hospital treatment
           return recommendations; timely scheduling and completion of urgent consultations
18         and specialty diagnostic services; and timely scheduling and completion of routine
           specialty consultations).
19
20         •      Development of audit templates to standardize MSCMB’s HCPM and
           contractual auditing processes, consistent with NCCHC (National Commission of
21         Correctional Health Care) operational standards.
22
           •      Implementation of on-site audits by the MSCMB medical liaison teams (often
23         conducted unannounced) with post-onsite audit meetings conducted by the MSCMB
           medical liaisons together with Centurion facility leadership and facility operations
24
           leadership (including the complex Warden and/or Deputy Warden of Operations).
25         The post-onsite audit meetings are conducted on-site and serve to communicate audit
           findings to Centurion and ADCRR operational leadership at the complex level.
26         Corrective action plans are created and implemented to address negative audit
27         findings, with timely follow up to assess the successfulness of the action plans. The
           post-onsite audit meetings are conducted consistent with NCCHC standards of
28         conduct regarding the same.

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 1
 2          •      Implementation of chart-review based audits by the MSCMB medical liaison
            teams to determine fail-points resulting in non-compliance of HCPMs. The patient
 3          chart audits are voluminous and can approach 100 chart reviews where warranted.
            These chart reviews greatly exceed the volume of reviews conducted to determine
 4          HCPM compliance for a particular month which is done in arears versus live time
 5          by the medical liaison team. The focus of the medical liaison team’s troubleshooting
            mission is to not only identify aid in correcting past non-compliance, but to
 6          proactively identify and address existing challenges as to promote current and future
 7          compliance.

 8          •      Creation of Corrective Action Plan Trackers to increase the vendor’s
            accountability for helping solve issues identified during an onsite audit and to aid
 9
            ADCRR in determining contractual non-compliance issues and coinciding contract
10          sanctions.

11          •       Analysis of capital expenditure needs to assess current allocation and status
12          of medical equipment utilized by Centurion to identify existing or future needs for
            repair, replacement, or purchase of medical equipment in order to provide healthcare
13          that meets and exceeds community and Stipulation standards.
14
15                                COVID-19 Response Operations
16          34.    Since the beginning of the 2019 Novel Coronavirus (“COVID-19”)
17   pandemic, ADCRR has taken significant action to mitigate the risk and impact of COVID-
18   19 in its facilities consistent with Centers for Disease Control and Prevention (“CDC”)
19   guidelines, Arizona Department of Health Services (“ADHS”) guidelines, and ADCRR’s
20   existing protocols for infectious disease control.
21          35.    On January 21, 2020, the CDC confirmed the first case of COVID-19 in the
22   United States. Ten days later, on January 31, 2020, Health and Human Services Secretary
23   Alex Azar declared a public health emergency in the United States.
24          36.    Both ADCRR and Centurion leadership stayed apprised of the COVID-19
25   developments and began analyzing and planning for operational and healthcare impacts
26   should COVID-19 spread in Arizona’s communities.
27          37.    By March 11, 1010, COVID-19 was declared a pandemic and a Public Health
28

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 1   Emergency in Arizona.
 2          38.    Consistent with the effect on the community, COVID-19 restricted and
 3   impacted the provision of healthcare to ADCRR’s inmate population, which necessarily
 4   included an impact on prison complex staffing (both corrections/operations staff and
 5   medical staff) where employees were also exposed or infected with COVID-19, resulting
 6   in significant staff call-out due to exposure or infection.
 7          39.    ADCRR’s efforts to mitigate the risk of COVID-19 infection in the inmate
 8   population has been successful.
 9          40.    ADCRR’s targeted response to mitigate the spread of COVID-19 includes but
10   is not limited to the following actions listed below. ADCRR’s operational responses were
11   implemented based upon daily analysis of constantly evolving CDC Guidelines and even
12   in advance of the CDC releasing its Interim Guidance on Management of Coronavirus
13   Disease 2019 (COVID-19) in Correctional and Detention Facilities. The CDC’s Interim
14   Guidance continues to change and evolve:
15
16          •      March 16, 2020: ADCRR activated its Emergency Operations Center,
            operating in conjunction with state and federal officials, the nation’s National
17          Incident Management System (NIMS), and Centurion representatives to manage
            healthcare, security, administration, and finance needs associated with response to
18          COVID-19.
19
            •       March 18, 2020: complex cleaning supplies and hygiene product supplies
20          were inventoried and orders for inmate bar soap were placed with expedited
21          shipping; complex supply usage and inventories were tracked and future usage
            projections made to determine future purchase needs; detention bed utilization
22          review was completed to allow use of detention beds for quarantine for court returns
            and violators; weekly deep cleaning and daily cleaning schedules were created and
23          implemented; emergency daycare options were distributed to leadership for
24          distribution to staff; staff/inmate COVID-19 symptom screening process was
            finalized and implemented; vulnerable inmate populations were identified per CDC
25          guidelines; weekly screening protocols and enhanced education for identified
26          vulnerable inmate population were implemented; Centurion telemedicine expanded
            as needed; Centurion and ADCRR collaborative tracking and reporting systems were
27          implemented for all instances of potential infection of the inmate population;
            operations tracking was implemented for potential infection in employees; COVID-
28

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 1         19 education bulletins were posted in English and Spanish on inmate bulletin boards
           and CCTV; Wardens and Deputy Wardens conducted Town Hall meetings with
 2
           inmates to discuss COVID-19 mitigation efforts; and non-essential education were
 3         suspended to address social distancing recommendations.
 4         •     March 18: 2020: all routine internal movement of inmates across all prison
 5         complexes was suspended to mitigate risk of COVID-19 exposure and spread.

 6         •       March 18, 2020: specialty consults were suspended on a case-by-case basis
 7         with ongoing review to occur to determine continuing transport needs for emergent
           or urgent outside specialty consults. Non-emergent/non-urgent onsite specialty
 8         appointments were suspended to mitigate inmate/staff exposure to non-Centurion
           medical personnel coming into prison facilities from the community (e.g.,
 9
           optometry, audiology, orthotics, ultrasound and mammogram services). Consistent
10         with sound correctional and public health practices, emergency/hospital transports
           continued based upon medical need as well as external specialty appointments where
11         clinically indicated, and provider appointments were available for the same.
12
           •       March 18, 2020: inmate visitation was suspended to mitigate community
13         exposure and infection. Inmates were provided two additional free telephone calls
           per day (except international calls) to allow increased contact with family/friends
14         resulting from suspension of visitation. 2
15
           •      March 18, 2020: inmate co-pays for medical services were suspended as
16         related to notification/request for care for COVID-19 symptoms to encourage
           inmates to report and seek medical care for the same.
17
18         •     March 25, 2020: off-site work crews were suspended to mitigate COVID-19
           exposure and infection from community contacts. Female inmates working at
19         Hickman’s Family Farms were relocated on-site to permit essential operations of the
           farm to continue while mitigating COVID-19 community exposure and infection
20         from entering ASCP-Perryville via daily returns of inmate workers.
21
           •    March 30, 2020: Arizona’s county sheriffs agreed to suspend admission to
22         ADCRR for 21 days, followed by agreement to stagger county jail new admissions
           to ADCRR in 21-day cycles. ADCRR worked with Arizona county sheriff
23
24         2
               On March 19, 2020, Executive Order 2020-10 was issued, which suspended non-
25   essential surgeries to conserve the supply of Personal Protective Equipment (“PPE”). As a
     result of EO 2020-10, outside providers began canceling previously scheduled
26   appointments and were unable to reschedule during the restriction time period. When the
     restrictions were lessened or eliminated, scheduling continued to be a challenge due to
27   outside providers’ backlogs and limited availability for inmate appointment scheduling. The
     availability of outside provider appointments continues to improve as providers address
28   their backlogs and the community spread of COVID-19 decreases.


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 1         departments to slow, pre-plan, schedule for, and stratify transfers of new admission
           intakes from the county jails to ADCRR. The intention of the initial 30-day hold
 2
           was not only to avoid the introduction of COVID-19 into ADCRR facilities from the
 3         county jails, but also to permit Centurion medical staff to focus on the healthcare
           needs of the existing population during the pandemic rather than diverting medical
 4         resources to both complete medical assessment intakes for large numbers of newly
 5         admitted inmates and additionally screen, evaluate, and monitor for COVID-19
           during the quarantined intake process. A side effect of the process, however, was
 6         that Centurion medical staff faced increased workloads during the cycle intake
           schedules which in turn could negatively impact Centurion’s HCPM compliance
 7
           rates. However, priority had to be made to mitigate against introduction of COVID-
 8         19 into ADCRR’s ten prison complexes from county jails. The staggered intake
           practice continues. Furthermore, since March 30, 2020, ADCRR has implemented
 9         two additional new admission units located at ASPC-Lewis and ASPC-Rincon to
10         provide appropriate quarantine protocols for new inmate admissions received from
           Arizona county jails. The additional intake center located at ASPC-Lewis Morey
11         Unit provides temporary housing for an additional approximate 200 intakes who are
           housed in a newly renovated cell environment, where they receive services such as
12
           food delivery directly to their housing location. The additional intake center located
13         at ASPC-Tucson Rincon Unit provides temporary intake/quarantine/cohort housing
           for up to approximately 190 inmates from county jails. The creation of these two
14         additional intake centers (in addition to existing intake facilities at ASPC-Phoenix)
15         facilitates appropriate initial intake quarantine/testing protocols for new intakes
           before assignment to housing, thereby mitigating introduction of COVID-19 into the
16         existing inmate population.
17
           •      April 1, 2020: consistent with CDC Guidelines and substantial limitation on
18         PPE supplies across the country for law enforcement, first responders, and healthcare
           providers, masks were provided to inmates with active COVID-19 symptoms and
19         for those providers directly treating COVID-19 patients. PPE was made available to
20         ADCRR staff and Centurion providers consistent with CDC guidelines and existing
           ADCRR direction for meeting all infectious disease threats encountered in the
21         correctional environment.
22
           •      April 3, 2020: ADCRR recommended employees wear non-medical PPE.
23         Masks were issued to ADCRR and Centurion staff. Inmates with COVID-19 or flu-
           like symptoms continued to be quarantined consistent with CDC Guidelines.
24
25         •      April 7, 2020: the first two ADCRR inmates tested positive for COVID-19
           but these inmates were not housed in ADCRR-operated prison complexes. One
26         inmate tested positive while out to a community hospital and the other inmate tested
           positive while assigned to a facility operated by a contracted private prison operator.
27
28         •      April 9, 2020: the first inmate assigned to an ADCRR-operated prison


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 1         complex tested positive for COVID-19 (ASPC-Florence).
 2         •       April 10, 2020: ADCRR implemented its COVID-10 Dashboard available at
 3         corrections.az.gov to provide the community with updates regarding COVID-19
           statistics. COVID-19 Management Strategy Updates via website postings also
 4         commenced.
 5
           •      May 8, 2020: ADCRR announced to the public via COVID-19 Management
 6         Strategy Updates available on the ADCRR website that inmate video visitation
           would be implemented May 10th (Mother’s Day) through June 13th providing one
 7         free 15-minute video visit per week for those inmates eligible for visitation. Free
 8         phone call strategies remained in place as well as existing phone call and mail
           privileges. Free video visitation opportunities were subsequently further extended.
 9
           •       May 28, 2020: COVID-19 PCR testing of staff started at ASPC-Yuma as part
10         of a statewide plan to test all correctional staff and prison employees. Testing at other
11         prison complexes followed.

12         •     June 10, 2020: Free video visitation (one 15-minute visit per week) was
           extended for inmates with visitation privileges.
13
14         •     June 12, 2020: COVID-19 antibody testing was initiated at ASPC-Florence
           for employees and contract staff. Testing at other prison complexes followed.
15
           •     July 2, 2020: cloth masks were distributed to all ADCRR inmates to include
16         ADCRR and private operated prison complexes. Inmates were educated and
17         encouraged to wear masks at all times except when eating, drinking, sleeping, or
           when staff request or required a positive identification.
18
           •      July 2, 2020: ADCRR began coordination with ADHS to implement mass
19         testing of all inmates at ADCRR-operated prison complexes.
20
           •     July 13, 2020: the in-person visitation restriction was extended, with free
21         weekly phone calls and video visitation privileges also extended as described above.
22         •       July 27, 2020 (to September 1, 2020): Phase 1 of mass COVID-19 testing of
23         all ADCRR inmates began and was completed in four weeks versus the original
           projection timeline of 13 weeks. Centurion staff initiated the testing process but the
24         process pivoted to primary responsibility taken by ADCRR and ADHS. MSCMB
           clinicians took primary point for completion of inmate testing and worked in
25         conjunction with ADHS which contracted with two additional lab vendors to
26         enhance the timing of return of lab results. The involvement of the MSCMB and
           ADHS provided Centurion the ability to focus on its primary mission of providing a
27         community standard of health care to ADCRR patients in a timely manner against
28         the backdrop of the unanticipated COVID-19 pandemic. Phase 2 of mass inmate


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 1         testing was planned for January 26, 2021 – March 18, 2021 (now complete).
 2         •      August 4, 2020: 517 inmates at ASPC-Tucson Whetstone Unit tested positive
 3         for COVID-19. Positive inmates were quarantined/cohorted with appropriate
           medical monitoring and care, as well as meals and other services, provided in the
 4         housing locations to enhance restricted movement and protect against unnecessary
 5         exposure to staff and other inmates. Inmates requiring a higher level of care for
           COVID-19 symptoms and related complications were transferred to community
 6         hospitals for care. These protocols preceded August 2020 and continue today at all
           ADCRR-operated facilities.
 7
 8         •     August 6, 2020: the in-person visitation restriction was extended, with free
           weekly phone calls and video visitation privileges (now up to one 30-minute visit
 9         per week) extended as described above.
10         •     September 10, 2020: in-person visitation restriction was extended, with free
11         weekly phone calls and video visitation privileges (extended as described above.

12         •      October 22, 2020: in-person visitation restriction was extended again, with
           free weekly phone calls and video visitation privileges (extended as described above.
13
14         •       December 8, 2020: in response to increased number of COVID-19 infections
           in the community, increased testing of inmates at ASPC-Florence Globe and ASPC-
15         Yuma La Paz Units commenced.
16
           •      December 8, 2020: ADHS Infection Control Assessment and Response
17         Teams completed onsite surveys to enable ADHS to provide ADCRR with additional
           assistance and guidance regarding COVID-19 response protocols.
18
           •       December 8, 2020: in collaboration with ADHS, ADCRR completed mass
19
           PCR testing of all ADCRR inmates in ADCRR-operated prison complexes. ADCRR
20         was among only a handful of state correctional agencies in the country to mass test
           their entire inmate population.
21
           •       December 8, 2020: efforts were made to prepare for vaccination distribution
22
           to staff and inmates as vaccines are made available by federal, state, and county
23         officials.
24         •      December 23, 2020: ADCRR expanded its intake capability to address the
25         increase of COVID-19 positive inmates being transferred from county jails.
           Additional intake facilities were implemented at ASPC-Lewis Morey Unit to provide
26         temporary intake/quarantine housing for an additional 200 inmates (housed in a
           newly renovated cell environment (newly configured cell doors/locks, fire alarm
27         systems and HVAC systems) with COVID-19 testing, medical assessment/care, and
28         food services provided on-unit.


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 1
            •      December 28, 2020: ADCRR prepared for Phase 2 of mass inmate COVID-
 2          19 testing of all inmates in ADCRR-operated prison complexes, to be completed
 3          from January to March 2021.

 4          •       ADCRR is currently in the process of vaccinating inmates identified as
            vulnerable to COVID-19 complications, inmate 55 years of age and older, and
 5
            critical needs inmate worker inmates who work outside of the prison complexes.
 6          Vaccination efforts are ongoing, and ADCRR is working in conjunction with ADHS
            to obtain and strategically distribute vaccinations to the inmate population.
 7
 8
            41.    The above summary of COVID-19 response efforts address 2020 response
 9
     protocols.   ADCRR continues to be vigilant in implementing robust COVID-19
10
     management strategies that meet or exceed CDC guidelines to reduce the spread of the virus
11
     in its facilities to include staff and inmate testing, quarantine/cohort strategies, new
12
     admission intake testing/quarantine/cohort strategies, provision of PPE to staff, provision
13
     of masks to staff and inmates, implementation of restricted movement operations to reduce
14
     intermixing of inmate populations and enhance social distancing, enhanced sanitation
15
     protocols, and facility entry symptom/temperature checks for staff/contractors.
16
            42.    In sum, ADCRR and Centurion implemented appropriate quarantine/cohort
17
     strategies at all 10 ADCRR prison complexes to isolate and house COVID-19 exposed and
18
     infected inmates early in the pandemic, with such strategies continuing today. To provide
19
     appropriate bedspace, for example, female inmates from ASPC-Perryville were temporarily
20
     housed at ASPC-Douglas in order that the Piestewa Unit at ASPC-Perryville could be used
21
     as a COVID-19 quarantine unit. Two additional intake operations were also implemented
22
     at ASPC-Lewis and ASPC-Tucson as described above.
23
            43.    Two rounds of mass testing of ADCRR’s inmate population have been
24
     conducted to contain and prevent the rapid spread of COVID-19 among the inmate
25
     population and staff. Mass testing can save lives and reduces the impact that mass infection
26
     would have on available medical resources both within ADCRR and in the community.
27
28

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 1          44.    However, even in these best of circumstances, increased provision of medical
 2   care to COVID-19 positive inmates as well as screening and attending to inmates presenting
 3   with COVID-19 symptoms was required and diverted pre-COVID-19 medical resources.
 4   This in turn necessarily negatively impacted Centurion’s ability to meet strict Stipulation
 5   compliance in some respects, especially where Centurion also experienced increased
 6   callouts by staff because of COVID-19 infection or exposure.
 7          45.    It should be noted that COVID-19 testing was not readily available even in
 8   the community, early in the pandemic. Before COVID-19 tests were available to ADCRR,
 9   symptomatic inmates were placed on medical observation status pending diagnosis. Even
10   with the growing availability of more reliable rapid tests, inmates are likely to remain on a
11   medical watch when reporting/exhibiting COVID-19 symptoms pending test results and
12   depending on the inmate’s condition, may remain on medical watch while recovering from
13   COVID-19. Medical watches are staff intensive for both medical and correctional staff and
14   require constant or frequent observation by correctional staff as well as frequent assessment
15   by medical staff. These staff intensive circumstances reasonably impacted performance on
16   time sensitive HCPMs where both correctional and staff resources were required to be
17   diverted to watch operations.
18          46.    With the completion of mass testing of inmates in Summer 2020 and
19   implementation of cohorting strategies even for asymptomatic inmates, medical resources
20   were stretched to provide on-unit assessments to asymptomatic inmates as well as
21   monitoring and care of symptomatic COVID-19 positive inmates. For example, on August
22   4, 2020, 557 inmates at ASPC-Tucson Whetstone Unit tested positive, which required large-
23   scale quarantine and cohort operations. Positive tests required not only cohorting of inmates
24   but enhanced medical assessment and treatment operations to provide care to COVID-19
25   positive inmates. With recovery time lagging on average two to four weeks after obtaining
26   positive tests, the burden on operations and medical staff continued from one month to the
27   next. Thus, a spike in COVID-positive inmates in one-month results in stretch and drain of
28   both medical and operational resources into the next month.

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 1          47.    Mass testing also challenged facility operations as both correctional and
 2   medical resources were required to facilitate mass inmate testing, again diverting resources
 3   away from normal operations. Despite the resulting burdens, targeted testing operations
 4   that are large scale but less than mass testing continue to be employed where needed. For
 5   example, following community spread of the virus after Thanksgiving 2020, certain facility
 6   locations likewise experienced a spike. As a result, selected units underwent widescale
 7   testing in December 2020. Both ASPC-Florence Globe and ASPC-Yuma La Paz Units
 8   underwent testing resulting in 655 out of 1,066 inmates at Yuma’s La Paz Unit testing
 9   positive, then requiring resulting resource-intensive cohort, quarantine, medical
10   assessment/treatment response operations.
11          48.    As of March 25, 2021, 2734 ADCRR staff self-reported receiving positive
12   COVID-19 tests from community medical providers, with 2724 staff certifying as
13   recovered.
14          49.    During the time period of May 2020 to December 2020, staff infection rates
15   or suspected exposure compromised ADCRR staffing as follows 3:
16
17
                    Impact of COVID-19 on ADCRR Staff Availability
18         (Cumulative measures from last business day of the Month, May 2020 -
19                                  December 2020)

20                                                                   Employees
21                                                                   Turned Away
                                                                     and
22                   Staff Self-                   Employees         Subsequently
                     Report        Recovered Self- Turned Away       Returned to
23     Month         Positive      Reports         Due to Screening Work
24     May                      82              61               954           869
       June                   226              149              1489         1200
25
26          3
             The staff self-report and recovered self-report statistics are for all ADCRR
27   employees state-wide to include Central Office. The employees turned away due to
     screening/subsequently returned to work include contracted employees to include for
28   example, Centurion medical staff and Trinity food services staff.


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 1     July                   555                  463                   1984              1768
 2     August                 679                  659                   2217              2146
       September              705                  692                   2345              2299
 3     October                775                  726                   2535              2468
 4     November              1075                  856                   2924              2729
       December              1863                 1490                   3497              3232
 5
 6
            50.    While restricted movement protocols decreased cross-exposure of inmates
 7
     housed at a particular prison complex or in a particular housing unit. ADCRR addressed
 8
     daily staffing needs by staffing priority posts, collapsing non-priority posts, and reassigning
 9
     duty posts to facilitate necessary movement. Where necessary, 12-hour shifts and overtime
10
     were required to safely operate ADCRR prison complexes with all priority posts filled.
11
     ADCRR took all reasonable steps to mitigate operational challenges and slowdowns to
12
     support Centurion in maintaining Stipulation compliance while at the same time providing
13
     necessary assessment and care to COVID-19 exposed, suspected, or infected inmates.
14
            51.    Centurion staff callouts also impacted medical staffing, requiring
15
     reassignment of Centurion staff to address the healthcare needs of inmates with and without
16
     COVID-19 exposure. Because of COVID-19 exposure and infection among the inmates,
17
     Centurion staff had to increase their rounds to obtain vital signs for hundreds of COVID-19
18
     inmates. In turn, Centurion staff also had to triage and prioritize medical care, giving
19
     priority to COVID-19 inmates. Consequently, this then slowed nursing and provider lines
20
     resulting in varying and sometimes decreased compliance rates for HCPMs.
21
            52.    ADCRR and Centurion’s proactive and successful responses to the COVID-
22
     19 pandemic fortunately placed ADCRR at the forefront of correctional agencies as to
23
     inmate COVID-19 deaths. ADCRR continues these efforts in consultation with CDC and
24
     ADHS guidelines and recommendations to mitigate COVID-19 infection among the inmate
25
     population while continuing to provide continuing quality healthcare to the entire inmate
26
     population that meets and exceeds both constitutional and community standards.
27
28   ///


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 1            53.   Considering 29,860 inmates currently in ADCRR’s ten ADCRR-operated
 2   prison complexes as of March 25, 2021, the total inmate population mortality rate is 0.14%.
 3   Considering 30,546 inmates in ADCRR’s ten ADCRR-operated prison complexes as of
 4   December 31, 2020, the total inmate mortality rate was 0.10%.
 5            54.   Incorporating mortality rates based upon COVID-19 positive tests for inmates
 6   in the ten state-operated prison complexes, the mortality rate is 0.3732%.
 7            55.   The Marshall Project consolidates reports of COVID-19 infections in state
 8   and federal prisons. Considering COVID-19 death rates per 10,000 prisoners, only ten other
 9   states have lesser mortality rates than Arizona and Arizona’s statistics are based on total
10   mortality rates to include confirmed/suspected COVID-19 deaths also at private provider
11   facilities that house ADCRR inmates. Arizona (12); Alaska (10); Idaho (8); Maine (1);
12   Nebraska (11); New York (8); North Dakota (7); Rhode Island (7); Washington (8),
13   Wisconsin (11), and Vermont (0). (See https://www.themarshallproject.org/2020/05/01/a-
14   state-by-state-look-at-coronavirus-in-prisons;
15   https://www.themarshallproject.org/2020/05/01/a-state-by-state-look-at-coronavirus-in-
16   prisons#prisoner-state, then select Arizona from the drop-down, last visited March 25,
17   2020.)
18            56.   Despite ADCRR and Centurion’s demonstrated success managing COVID-
19   19, the pandemic necessarily diverted both corrections/operation and medical staff from
20   normal duties, impacting Stipulation compliance despite reasonable and best efforts to
21   comply while at the same time proactively and successfully managing the COVID-19
22   infection rates.
23
24                                Deactivation of ASPC-Florence
25            57.   In response to the Court’s OSC Order and to increase and maintain Stipulation
26   HCPM compliance, ADCRR continues to move forward with deactivating ASPC-Florence.
27   The first phase of closure of the North Unit has been completed.
28

                                                  20
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 1          58.     The closure of the North Unit resulted in relocation of approximately 900
 2   inmates to existing ADCRR bed space, redeployment of approximately 70% the Unit’s
 3   operations/security staffing resources to ASPC-Eyman (with 30% remaining at ASPC-
 4   Florence), and absorption of medical staff within the Florence Complex to increase medical
 5   staffing to better address the healthcare needs of the still-existing ASPC-Florence inmate
 6   population that as of March 23, 2021, was 2692 inmates on-site.
 7          59.     The deactivation of ASPC-Florence is dependent on approval of funding
 8   which was proposed in the Governor’s budget proposal and expected to be included in this
 9   year’s budget by the Legislature.
10
11                                       Tablet System Rollout
12          60.     As an additional method of increasing efficiency in the provision of medical
13   care, ADCRR continues to roll out a tablet system whereby inmates in most every
14   classification are provided tablets that provide for entertainment and communication
15   opportunities. 4
16          61.     But for the exceptions noted in footnote 4, tablets are provided for inmate use
17   at all ten ADCRR-operated prison complexes.
18          62.     Efforts to implement the tablets with technology capability for submission of
19   Health Needs Requests and medical care refusal forms directly from the tablet to medical
20   personnel has been ongoing since mid-2020 but delayed due to COVID-19.
21          63.     Despite unanticipated delays due to COVID-19, rollout of the tablet-access
22   HNR system will go into effect in April and May 2021, in phases to include ADCRR staff
23   testing of the tablet-based HNR system; staff training regarding the same; and a projected
24   go-live date of mid to late May. This capability will increase the efficiency and timeliness
25
26
            4
               Generally, inmates who destroy or attempt to destroy the tablets are subject to
     restriction on tablet use for legitimate security and disciplinary reasons. Additionally,
27   ASPC-Florence (Kasson Unit) does not provide its seriously mentally ill maximum custody
     inmates with tablets due to legitimate safety risks where destruction of a tablet by at least
28   one inmate has resulted in attempted serious self-harm.


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